UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

LAKE CHARLES DIVISION
PARISH OF CAMERON ET AL CASE NO. 2:18-CV-00685
VERSUS JUDGE SUMMERHAYS
BAY COQUILLE INC ET AL MAGISTRATE JUDGE KAY
ORDER

Presently before the court is the Joint Motion to Remand [doc. 41] filed by the Plaintiffs.
Based on the Reasons for Decision entered this day in Case Number 18-cv-677,
IT IS ORDERED THAT the Joint Motion to Remand [doc. 41] is GRANTED.

THUS DONE in Chambers on this 26th day of September, 2019.

 

Robert R. SummerhayS
United States District Judge
